        Case 1:20-cv-03010-APM Document 400 Filed 10/13/22 Page 1 of 21




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 United States of America, et al.,

                                Plaintiffs,           Case No. 1:20-cv-03010-APM

 v.                                                   HON. AMIT P. MEHTA
 Google LLC,

                                Defendant.




 State of Colorado, et al.,

                                Plaintiffs,           Case No. 1:20-cv-03715-APM

 v.                                                   HON. AMIT P. MEHTA
 Google LLC,

                                Defendant.




                                     JOINT STATUS REPORT

        Pursuant to the Court’s Minute Order of September 8, 2022, the parties in United States

v. Google LLC and State of Colorado v. Google LLC submit the following Joint Status Report

summarizing the state of discovery and identifying any issues between the parties, and the

parties’ respective positions, that will be raised at the status hearing scheduled for October 14,

2022.
        Case 1:20-cv-03010-APM Document 400 Filed 10/13/22 Page 2 of 21




I.      Case No. 1:20-cv-03010

        A.      Google’s Discovery of Plaintiffs

        A summary of Google’s First Set of Requests for Production and prior document

productions made by Plaintiffs are set forth in the parties’ earlier Joint Status Reports. 1

U.S. Plaintiffs served six reply expert reports on September 26 and served related and underlying

support materials for those reports on October 3.

        On September 29, Google issued notices of deposition for six of U.S. Plaintiffs’ experts.

        On October 10, Google filed a motion to exclude the report and testimony of Dr. Kirsten

Martin, an expert witness disclosed by U.S. Plaintiffs on September 26. Google proposed to U.S.

Plaintiffs that this issue be submitted as part of this Joint Status Report, but U.S. Plaintiffs

declined.

        U.S. Plaintiffs explained that the subject matter was not proper for a Joint Status Report;

moreover, because Google had refused to meet and confer on their proposed motion, the

U.S. Plaintiffs did not understand the basis for Google’s proposed filing. Accordingly, cross

filings in a Joint Status Report were impossible. Google has briefed the issue separately.

U.S. Plaintiffs’ brief is due October 24, 2022.

        Google will be prepared to address this motion at the status hearing. U.S. Plaintiffs

respectfully request the Court set a date for argument on the motion, after the parties fully brief

the issues.




1
 Reports dated February 23 (ECF No. 111), March 28 (ECF No. 124), April 23 (ECF No. 131), May 24
(ECF No. 135), June 24 (ECF No. 149), July 27 (ECF No. 165), August 27 (ECF No. 191), September 24
(ECF No. 223), October 26 (ECF No. 248), November 23 (ECF No. 256), January 4 (ECF No. 271),
February 8 (ECF No. 285), March 4 (ECF No. 315), April 4 (ECF No. 333), May 10 (ECF No. 351), June
15 (ECF No. 360), July 12 (ECF No. 367), and August 22 (ECF No. 383).

                                                   2
        Case 1:20-cv-03010-APM Document 400 Filed 10/13/22 Page 3 of 21




       Google respectfully requests that the Court enter Exhibit A, which is a proposed order

that would expand by 5 pages the limitations for summary judgement briefs. This would allow

Google to file a 50-page memorandum of points and authorities in support of a motion for

summary judgment in United States, et al. v. Google and a 50-page memorandum of points and

authorities in support of a motion for summary judgment in State of Colorado, et al. v. Google.

The U.S. Plaintiffs and Colorado Plaintiffs will each be permitted to file a 50-page memorandum

of points and authorities in opposition to the motions, and Google will be permitted to file a 30-

page reply in support of each of its motions. U.S Plaintiffs and Plaintiff States take no position

on this request.

       B.      Plaintiffs’ Discovery of Google

       A summary of Plaintiffs’ First through Thirteenth Sets of Requests for Production and the

document productions previously made by Google are set forth in the parties’ earlier Joint Status

Reports.2

       Google produced additional documents on August 23, 25, and 30, on September 7 and

16, and on October 7. Google produced additional data on August 26 and September 9, and

Google produced a corrected privilege log on September 26.

       Google served six reply expert reports on September 26, and served related and

underlying support materials for those reports on October 3. Google served the reply expert

report of Edward A. Fox on October 10.




2
 Reports dated February 23 (ECF No. 111), March 28 (ECF No. 124), April 23 (ECF No. 131), May 24
(ECF No. 135), June 24 (ECF No. 149), July 27 (ECF No. 165), August 27 (ECF No. 191), September 24
(ECF No. 223), October 26 (ECF No. 248), November 23 (ECF No. 256), January 4 (ECF No. 271),
February 8 (ECF No. 285), March 4 (ECF No. 315), April 4 (ECF No. 333), May 10 (ECF No. 351), June
15 (ECF No. 360), July 12 (ECF No. 367), and August 22 (ECF No. 383).

                                                 3
           Case 1:20-cv-03010-APM Document 400 Filed 10/13/22 Page 4 of 21




        U.S. Plaintiffs and Plaintiff States issued notices to re-open nine depositions on July 21

pursuant to the Court’s Minute Order dated July 14, 2022. U.S. Plaintiffs and Plaintiff States

have completed eight of the re-opened depositions and an additional deposition is scheduled for

October 28.

        On September 30, U.S Plaintiffs issued notices of deposition for seven of Google’s

experts.

        C.      The Parties’ Discovery of Third-Parties

        A summary of the third-party discovery requests previously issued by the parties is set

forth in the parties’ earlier Joint Status Reports.3

II.     Case No. 1:20-cv-03715

        A.      Google’s Discovery of Plaintiff States

        A summary of Google’s First Set of Requests for Production and the document

productions made by Plaintiffs to date are set forth in the parties’ earlier Joint Status Reports. 4

        Plaintiff States served two reply expert reports on September 26, and made related and

underlying support materials available to Google on October 3.

        On September 29, Google issued notices of deposition for Plaintiff States’ two experts.




3
 Reports dated February 23 (ECF No. 111), March 28 (ECF No. 124), April 23 (ECF No. 131), May 24
(ECF No. 135), June 24 (ECF No. 149), July 27 (ECF No. 165), August 27 (ECF No. 191), September 24
(ECF No. 223), October 26 (ECF No. 248), November 23 (ECF No. 256), January 4 (ECF No. 271),
February 8 (ECF No. 285), March 4 (ECF No. 315), April 4 (ECF No. 333), May 10 (ECF No. 351), June
15 (ECF No. 360), July 12 (ECF No. 367), and August 22 (ECF No. 383).
4
 Reports dated March 28 (ECF No. 124), April 23 (ECF No. 131), May 24 (ECF No. 135), June 24 (ECF
No. 149), July 27 (ECF No. 165), August 27 (ECF No. 191), September 24 (ECF No. 223), October 26
(ECF No. 248), November 23 (ECF No. 256), January 4 (ECF No. 271), February 8 (ECF No. 285),
March 4 (ECF No. 315), April 4 (ECF No. 333), May 10 (ECF No. 351), June 15 (ECF No. 360), July 12
(ECF No. 367), and August 22 (ECF No. 383).

                                                   4
        Case 1:20-cv-03010-APM Document 400 Filed 10/13/22 Page 5 of 21




        B.      Plaintiff States’ Discovery of Google

        A summary of Plaintiff States’ First through Seventh Sets of Requests for Production and

the document productions previously made by Google are set forth in the parties’ earlier Joint

Status Reports.5 Google has continued to produce to Plaintiff States the documents and data

produced to the U.S. Plaintiffs and its co-plaintiffs in Case No. 1:20-cv-03010 in addition to

producing documents and data in response to Plaintiff States’ First through Seventh Sets of

Requests for Production.

        Google served six reply expert reports on September 26, and served related and

underlying support materials for those reports on October 3. Google served the reply expert

report of Edward A. Fox on October 10.

        On August 25, 2022 Google produced data responsive to Request 36 of Plaintiff States

First Request for Production.

        Plaintiff States have coordinated with U.S. Plaintiffs in scheduling the depositions of

Google’s experts and on October 10 noticed the deposition of an additional Google expert.

        C.      The Parties’ Discovery of Third-Parties

        A summary of the third-party discovery requests previously issued by the parties is set

forth in the parties’ earlier Joint Status Reports.6




5
 Reports dated March 28 (ECF No. 124), April 23 (ECF No. 131), May 24 (ECF No. 135), June 24 (ECF
No. 149), July 27 (ECF No. 165), August 27 (ECF No. 191), September 24 (ECF No. 223), October 26
(ECF No. 248), November 23 (ECF No. 256), January 4 (ECF No. 271), February 8 (ECF No. 285),
March 4 (ECF No. 315), April 4 (ECF No. 333), May 10 (ECF No. 351), June 15 (ECF No. 360), July 12
(ECF No. 367), and August 22 (ECF No. 383).
6
 Reports dated February 23 (ECF No. 111), March 28 (ECF No. 124), April 23 (ECF No. 131), May 24
(ECF No. 135), June 24 (ECF No. 149), July 27 (ECF No. 165), August 27 (ECF No. 191), September 24
(ECF No. 223), October 26 (ECF No. 248), November 23 (ECF No. 256), January 4 (ECF No. 271),
February 8 (ECF No. 285), March 4 (ECF No. 315), April 4 (ECF No. 333), May 10 (ECF No. 351), July
12 (ECF No. 367), and August 22 (ECF No. 383).

                                                   5
       Case 1:20-cv-03010-APM Document 400 Filed 10/13/22 Page 6 of 21




Dated: October 12, 2022             Respectfully submitted,

                                    WILLIAMS & CONNOLLY LLP

                                    By: /s/ John E. Schmidtlein
                                    John E. Schmidtlein (D.C. Bar No. 441261)
                                    Benjamin M. Greenblum (D.C. Bar No. 979786)
                                    Colette T. Connor (D.C. Bar No. 991533)
                                    680 Maine Avenue, SW
                                    Washington, DC 20024
                                    Tel: 202-434-5000
                                    jschmidtlein@wc.com
                                    bgreenblum@wc.com
                                    cconnor@wc.com

                                    WILSON SONSINI GOODRICH & ROSATI P.C.
                                    Susan A. Creighton (D.C. Bar No. 978486)
                                    Franklin M. Rubinstein (D.C. Bar No. 476674)
                                    1700 K Street, NW
                                    Washington, DC 20006
                                    Tel: 202-973-8800
                                    screighton@wsgr.com
                                    frubinstein@wsgr.com

                                    ROPES & GRAY LLP
                                    Mark S. Popofsky (D.C. Bar No. 454213)
                                    2099 Pennsylvania Avenue, NW
                                    Washington, DC 20006
                                    Tel: 202-508-4624
                                    Mark.Popofsky@ropesgray.com

                                    Counsel for Defendant Google LLC

                                    By:     /s/ Kenneth M. Dintzer
                                    Kenneth M. Dintzer
                                    Karl E. Herrmann
                                    U.S. Department of Justice, Antitrust Division
                                    Technology & Digital Platforms Section
                                    450 Fifth Street NW, Suite 7100
                                    Washington, DC 20530
                                    Telephone: (202) 227-1967
                                    Kenneth.Dintzer2@usdoj.gov
                                    Counsel for Plaintiff United States of America




                                      6
Case 1:20-cv-03010-APM Document 400 Filed 10/13/22 Page 7 of 21




                             By:     /s/ Kelsey Paine
                             Kelsey Paine, Assistant Attorney General
                             Margaret Sharp, Assistant Attorney General
                             Office of the Attorney General, Antitrust Division
                             300 West 15th Street
                             Austin, Texas 78701
                             Kelsey.Paine@oag.texas.gov
                             Counsel for Plaintiff State of Texas

                             By:     /s/ Matthew Michaloski
                             Theodore Edward Rokita, Attorney General
                             Scott L. Barnhart, Chief Counsel and Director,
                             Consumer Protection Division
                             Matthew Michaloski, Deputy Attorney General
                             Christi Foust, Deputy Attorney General
                             Office of the Attorney General, State of Indiana
                             Indiana Government Center South, Fifth Floor
                             302 West Washington Street
                             Indianapolis, Indiana 46204
                             Matthew.Michaloski@atg.in.gov
                             Counsel for Plaintiff State of Indiana

                             Leslie Rutledge, Attorney General
                             Johnathan R. Carter, Assistant Attorney General
                             Office of the Attorney General, State of Arkansas
                             323 Center Street, Suite 200
                             Little Rock, Arkansas 72201
                             Johnathan.Carter@arkansasag.gov
                             Counsel for Plaintiff State of Arkansas




                               7
Case 1:20-cv-03010-APM Document 400 Filed 10/13/22 Page 8 of 21




                             Rob Bonta, Attorney General
                             Ryan J. McCauley, Deputy Attorney General
                             Brian Wang, Deputy Attorney General
                             Paula Blizzard, Supervising Deputy Attorney
                             General
                             Kathleen Foote, Senior Assistant Attorney General
                             Office of the Attorney General,
                             California Department of Justice
                             455 Golden Gate Avenue, Suite 11000
                             San Francisco, California 94102
                             Brian.Wang@doj.ca.gov
                             Counsel for Plaintiff State of California

                             Ashley Moody, Attorney General
                             R. Scott Palmer, Special Counsel, Complex
                             Enforcement Chief, Antitrust Division
                             Nicholas D. Niemiec, Assistant Attorney General
                             Lee Istrail, Assistant Attorney General
                             Office of the Attorney General, State of Florida
                             PL-01 The Capitol
                             Tallahassee, Florida 32399
                             Lee.Istrail@myfloridalegal.com
                             Scott.Palmer@myfloridalegal.com
                             Counsel for Plaintiff State of Florida

                             Christopher Carr, Attorney General
                             Margaret Eckrote, Deputy Attorney General
                             Daniel Walsh, Senior Assistant Attorney General
                             Charles Thimmesch, Assistant Attorney General
                             Office of the Attorney General, State of Georgia
                             40 Capitol Square, SW
                             Atlanta, Georgia 30334-1300
                             cthimmesch@law.georgia.gov
                             Counsel for Plaintiff State of Georgia




                               8
Case 1:20-cv-03010-APM Document 400 Filed 10/13/22 Page 9 of 21




                             Theodore Edward Rokita, Attorney General
                             Scott L. Barnhart, Chief Counsel and Director,
                             Consumer Protection Division
                             Matthew Michaloski, Deputy Attorney General
                             Erica Sullivan, Deputy Attorney General
                             Office of the Attorney General, State of Indiana
                             Indiana Government Center South, Fifth Floor
                             302 West Washington Street
                             Indianapolis, Indiana 46204
                             Scott.Barnhart@atg.in.gov
                             Counsel for Plaintiff State of Indiana

                             Daniel Cameron, Attorney General
                             J. Christian Lewis, Executive Director of
                             Consumer Protection
                             Philip R. Heleringer, Deputy Executive Director of
                             Consumer Protection
                             Jonathan E. Farmer, Assistant Attorney General
                             Office of the Attorney General, Commonwealth of
                             Kentucky
                             1024 Capital Center Drive, Suite 200
                             Frankfort, Kentucky 40601
                             Philip.Heleringer@ky.gov
                             Counsel for Plaintiff Commonwealth of Kentucky

                             Jeff Landry, Attorney General
                             Christopher J. Alderman, Assistant Attorney
                             General
                             Office of the Attorney General, State of Louisiana
                             Public Protection Division
                             1885 North Third St.
                             Baton Rouge, Louisiana 70802
                             AldermanC@ag.louisiana.gov
                             Counsel for Plaintiff State of Louisiana

                             Dana Nessel, Attorney General
                             Scott Mertens, Assistant Attorney General
                             Michigan Department of Attorney General
                             P.O. Box 30736
                             Lansing, Michigan 48909
                             MertensS@michigan.gov
                             Counsel for Plaintiff State of Michigan




                               9
Case 1:20-cv-03010-APM Document 400 Filed 10/13/22 Page 10 of 21




                             Stephen M. Hoeplinger
                             Assistant Attorney General
                             Missouri Attorney General’s Office
                             815 Olive St., Suite 200
                             St. Louis, Missouri 63101
                             Stephen.Hoeplinger@ago.mo.gov
                             Counsel for Plaintiff State of Missouri

                             Lynn Fitch, Attorney General
                             Hart Martin, Special Assistant Attorney General
                             Crystal Utley Secoy, Assistant Attorney General
                             Office of the Attorney General, State of
                             Mississippi
                             P.O. Box 220
                             Jackson, Mississippi 39205
                             Hart.Martin@ago.ms.gov
                             Counsel for Plaintiff State of Mississippi

                             Austin Knudsen, Attorney General
                             Rebekah J. French, Assistant Attorney General,
                             Office of Consumer Protection
                             Office of the Attorney General, State of Montana
                             P.O. Box 200151
                             555 Fuller Avenue, 2nd Floor
                             Helena, Montana 59620-0151
                             Rebekah.french@mt.gov
                             Counsel for Plaintiff State of Montana

                             Rebecca M. Hartner, Assistant Attorney General
                             Alan Wilson, Attorney General
                             W. Jeffrey Young, Chief Deputy Attorney General
                             C. Havird Jones, Jr., Senior Assistant Deputy
                             Attorney General
                             Mary Frances Jowers, Assistant Deputy Attorney
                             General
                             Office of the Attorney General, State of South
                             Carolina
                             1000 Assembly Street
                             Rembert C. Dennis Building
                             P.O. Box 11549
                             Columbia, South Carolina 29211-1549
                             RHartner@scag.gov
                             Counsel for Plaintiff State of South Carolina




                               10
Case 1:20-cv-03010-APM Document 400 Filed 10/13/22 Page 11 of 21




                             Joshua L. Kaul, Attorney General
                             Gwendolyn J. Lindsay Cooley, Assistant Attorney
                             General
                             Wisconsin Department of Justice
                             17 W. Main St.
                             Madison, Wisconsin 53701
                             Gwendolyn.Cooley@Wisconsin.gov
                             Counsel for Plaintiff State of Wisconsin

                             By: /s/ Jonathan B. Sallet
                             Jonathan B. Sallet, Special Assistant Attorney
                             General (D.C. Bar No. 336198)
                             Steven Kaufmann, Deputy Attorney General (D.C.
                             Bar No. 1022365 inactive)
                             Diane R. Hazel, First Assistant Attorney General
                             (D.C. Bar No. 1011531 inactive)
                             Erica Fruiterman, Special Assistant Attorney
                             General
                             Colorado Office of the Attorney General
                             1300 Broadway, 7th Floor
                             Denver, CO 80203
                             Tel: 720-508-6000
                             Jon.Sallet@coag.gov
                             Steve.Kaufmann@coag.gov
                             Diane.Hazel@coag.gov
                             Erica.Fruiterman@coag.gov

                             Counsel for Plaintiff State of Colorado

                             Joseph M. Conrad
                             Matthew K. McKinley
                             Office of the Attorney General of Nebraska
                             2115 State Capitol Building
                             Lincoln, NE 68509
                             402-471-3840
                             Matt.McKinley@nebraska.gov
                             Joseph.conrad@nebraska.gov

                             Counsel for Plaintiff Nebraska




                               11
Case 1:20-cv-03010-APM Document 400 Filed 10/13/22 Page 12 of 21




                             William F. Cavanaugh
                             Patterson Belknap Webb and Tyler LLP
                             1133 Avenue of the Americas
                             New York, NY, 10036
                             wfcavanaugh@pbwt.com
                             212-336-2793

                             Counsel for Plaintiff States of Colorado and
                             Nebraska

                             Brunn W. (Beau) Roysden III, Solicitor General
                             Michael S. Catlett, Deputy Solicitor General
                             Christopher M. Sloot, Assistant Attorney General
                             Arizona Office of the Attorney General
                             2005 North Central Avenue
                             Phoenix, Arizona 85004
                             Tel: (602) 542-3725
                             Dana.Vogel@azag.gov

                             Counsel for Plaintiff State of Arizona

                             Bryce A. Pashler
                             Attorney General’s Office for the State of Iowa
                             1305 East Walnut Street, 2nd Floor
                             Des Moines, IA 50319
                             (515) 725-5391
                             bryce.pashler@ag.iowa.gov

                             Counsel for Plaintiff Iowa

                             Elinor R. Hoffmann
                             Morgan J. Feder
                             Office of the Attorney General of New York
                             28 Liberty Street, 21st Floor
                             New York, NY 10005
                             212-416-8513
                             elinor.hoffmann@ag.ny.gov
                             morgan.feder@ag.ny.gov

                             Counsel for Plaintiff New York




                               12
Case 1:20-cv-03010-APM Document 400 Filed 10/13/22 Page 13 of 21




                             Jonathan R. Marx
                             Jessica Vance Sutton
                             North Carolina Department of Justice
                             114 W. Edenton St.
                             Raleigh, NC 27603
                             919-716-6000
                             Jmarx@Ncdoj.Gov
                             jsutton2@ncdoj.gov
                             Counsel for Plaintiff North Carolina

                             J. David McDowell
                             Christopher Dunbar
                             Office of The Attorney General & Reporter P.O.
                             Box 20207
                             Nashville, TN 37202
                             615-741-3519
                             david.mcdowell@ag.tn.gov
                             chris.dunbar@ag.tn.gov
                             Counsel for Plaintiff Tennessee

                             Tara Pincock
                             Attorney General's Office Utah
                             160 E 300 S, Ste 5th Floor
                             PO Box 140874
                             Salt Lake City, UT 84114
                             801-366-0305
                             tpincock@agutah.gov
                             Counsel for Plaintiff Utah

                             Jeff Pickett
                             Senior Assistant Attorney General
                             State of Alaska, Department of Law
                             Office of the Attorney General
                             1031 W. Fourth Avenue, Suite 200
                             Anchorage, Alaska 99501
                             Tel: (907) 269-5100
                             jeff.pickett@alaska.gov
                             Counsel for Plaintiff Alaska




                               13
Case 1:20-cv-03010-APM Document 400 Filed 10/13/22 Page 14 of 21




                             Nicole Demers
                             State of Connecticut Office of the Attorney
                             General
                             165 Capitol Avenue, Ste 5000
                             Hartford, CT 06106
                             860-808-5202
                             nicole.demers@ct.gov
                             Counsel for Plaintiff Connecticut

                             Michael Andrew Undorf
                             Delaware Department of Justice
                             Fraud and Consumer Protection Division
                             820 N. French St., 5th Floor
                             Wilmington, DE 19801
                             302-577-8924
                             michael.undorf@delaware.gov
                             Counsel for Plaintiff Delaware

                             Elizabeth Gentry Arthur
                             David Brunfeld
                             Office of the Attorney General for the District of
                             Columbia
                             400 6th Street NW
                             Washington, DC 20001
                             202-724-6514
                             elizabeth.arthur@dc.gov
                             david.brunfeld@dc.gov
                             Counsel for Plaintiff District of Columbia

                             Leevin Taitano Camacho, Attorney General
                             Fred Nishihira, Chief, Consumer Protection
                             Division
                             Office of the Attorney General of Guam
                             590 S. Marine Corps Drive, Suite 901
                             Tamuning, Guam 96913
                             Tel: (671)-475-3324
                             Counsel for Plaintiff Guam




                               14
Case 1:20-cv-03010-APM Document 400 Filed 10/13/22 Page 15 of 21




                             Rodney I. Kimura
                             Office of the Attorney General of Hawaii
                             Commerce & Economic Development
                             425 Queen Street
                             Honolulu, HI 96813
                             808-586-1180
                             rodney.i.kimura@hawaii.gov
                             Counsel for Plaintiff Hawaii

                             John K. Olson
                             Office of the Idaho Attorney General
                             Consumer Protection Division
                             954 W. State St., 2nd Fl.
                             PO Box 83720
                             Boise, ID 83720-0010
                             208-332-3549
                             john.olson@ag.idaho.gov
                             Counsel for Plaintiff Idaho

                             Joseph Chervin
                             Elizabeth Maxeiner
                             Office of the Attorney General of Illinois
                             100 W. Randolph St.
                             Chicago, IL 60601
                             312-793-3891
                             jchervin@atg.state.il.us
                             elizabeth.maxeiner@ilag.gov
                             Counsel for Plaintiff State of Illinois

                             Lynette R. Bakker
                             Office of the Attorney General of Kansas
                             Consumer Protection & Antitrust
                             120 S.W. 10th Avenue, Ste 2nd Floor
                             Topeka, KS 66612-1597
                             785-368-8451
                             lynette.bakker@ag.ks.gov
                             Counsel for Plaintiff Kansas




                               15
Case 1:20-cv-03010-APM Document 400 Filed 10/13/22 Page 16 of 21




                             Christina M. Moylan
                             Office of the Attorney General of Maine
                             6 State House Station
                             Augusta, ME 04333-0006
                             207-626-8838
                             christina.moylan@maine.gov
                             Counsel for Plaintiff State of Maine

                             Schonette J. Walker
                             Assistant Attorney General
                             Chief, Antitrust Division
                             Office of the Attorney General
                             swalker@oag.state.md.us

                             Gary Honick
                             Assistant Attorney General
                             Deputy Chief, Antitrust Division
                             Office of the Attorney General
                             200 St. Paul Place, 19th Floor
                             Baltimore, MD 21202
                             410-576-6480
                             ghonick@oag.state.md.us
                             Counsel for Plaintiff Maryland

                             William T. Matlack, Assistant Attorney General
                             Chief, Antitrust Division
                             Michael B. MacKenzie, Assistant Attorney
                             General
                             Deputy Chief, Antitrust Division
                             Office of the Attorney General
                             One Ashburton Place, 18th Fl.
                             Boston, MA 02108
                             Tel: (617) 727-2200
                             William.Matlack@mass.gov
                             Michael.Mackenzie@mass.gov
                             Counsel for Plaintiff Massachusetts

                             Justin Moor, Assistant Attorney General
                             445 Minnesota Street, Suite 1400
                             St. Paul, Minnesota 55101-2130
                             (651) 757-1060
                             justin.moor@ag.state.mn.us
                             Counsel for Plaintiff Minnesota



                               16
Case 1:20-cv-03010-APM Document 400 Filed 10/13/22 Page 17 of 21




                             Marie W.L. Martin
                             Michelle Christine Newman
                             Lucas J. Tucker
                             Nevada Office of the Attorney General
                             Bureau of Consumer Protection
                             100 N. Carson Street
                             Carson City, NV 89701
                             775-624-1244
                             mwmartin@ag.nv.gov
                             mnewman@ag.nv.gov
                             ltucker@ag.nv.gov
                             Counsel for Plaintiff Nevada

                             Brandon Garod
                             Office of Attorney General of New Hampshire
                             33 Capitol Street
                             Concord, NH 03301
                             603-271-1217
                             brandon.h.garod@doj.nh.gov
                             Counsel for Plaintiff New Hampshire

                             Isabella R. Pitt, Deputy Attorney General
                             New Jersey Attorney General's Office
                             124 Halsey Street, 5th Floor
                             Newark, NJ 07102
                             973-648-7819
                             Isabella.Pitt@law.njoag.gov
                             Counsel for Plaintiff New Jersey

                             Judith E. Paquin, Assistant Attorney General
                             Cholla Khoury
                             New Mexico Office of the Attorney General
                             408 Galisteo St.
                             Santa Fe, NM 87504
                             Tel: 505.490.4885
                             jpaquin@nmag.gov
                             ckhoury@nmag.gov
                             Counsel for Plaintiff New Mexico




                               17
Case 1:20-cv-03010-APM Document 400 Filed 10/13/22 Page 18 of 21




                             Parrell D. Grossman
                             Director
                             Elin S. Alm
                             Assistant Attorney General
                             Consumer Protection & Antitrust Division
                             Office of the Attorney General of North Dakota
                             1720 Burlington Drive, Suite C
                             Bismarck, ND 58504-7736
                             701-328-5570
                             pgrossman@nd.gov
                             ealm@nd.gov
                             Counsel for Plaintiff North Dakota

                             Beth Ann Finnerty
                             Mark Kittel
                             Jennifer Pratt
                             Office of The Attorney General of Ohio, Antitrust
                             Section
                             30 E Broad Street, 26th Floor
                             Columbus, OH 43215
                             614-466-4328
                             beth.finnerty@ohioattorneygeneral.gov
                             mark.kittel@ohioattorneygeneral.gov
                             jennifer.pratt@ohioattorneygeneral.gov
                             Counsel for Plaintiff Ohio

                             Caleb J. Smith Assistant Attorney General
                             Consumer Protection Unit
                             Office of the Oklahoma Attorney General
                             313 NE 21st St
                             Oklahoma City, OK 73105
                             Tel: (405) 522-1014
                             Caleb.Smith@oag.ok.gov
                             Counsel for Plaintiff Oklahoma

                             Cheryl Hiemstra
                             Oregon Department of Justice
                             1162 Court St NE
                             Salem, OR 97301
                             503-934-4400
                             cheryl.hiemstra@doj.state.or.us
                             Counsel for Plaintiff Oregon



                               18
Case 1:20-cv-03010-APM Document 400 Filed 10/13/22 Page 19 of 21




                             Tracy W. Wertz
                             Joseph S. Betsko
                             Pennsylvania Office of Attorney General
                             Strawberry Square
                             Harrisburg, PA 17120
                             Tel: (717) 787-4530
                             jbetsko@attorneygeneral.gov
                             twertz@attorneygeneral.gov
                             Counsel for Plaintiff Pennsylvania

                             Guarionex Díaz Martínez
                             Assistant Attorney General Antitrust Division
                             Puerto Rico Department of Justice
                             PO Box 9020192
                             San Juan, Puerto Rico 00902-0192
                             Tel: (787) 721-2900, ext. 1201
                             gdiaz@justicia.pr.gov
                             Counsel for Plaintiff Puerto Rico

                             Stephen Provazza
                             Rhode Island Office of the Attorney General
                             150 South Main Street
                             Providence, RI 02903
                             Tel: (401) 274-4400
                             SProvazza@riag.ri.gov
                             Counsel for Plaintiff Rhode Island

                             Yvette K. Lafrentz
                             Office of The Attorney General of South Dakota
                             1302 E. Hwy 14, Suite1
                             Pierre, SD 57501
                             605-773-3215
                             yvette.lafrentz@state.sd.us
                             Counsel for Plaintiff South Dakota




                               19
Case 1:20-cv-03010-APM Document 400 Filed 10/13/22 Page 20 of 21




                             Ryan G. Kriger
                             Office of The Attorney General of Vermont
                             109 State St.
                             Montpelier, VT 05609
                             802-828-3170
                             ryan.kriger@vermont.gov
                             Counsel for Plaintiff Vermont

                             Tyler Timothy Henry
                             Office of the Attorney General of Virginia
                             Antitrust Unit/Consumer Protection Section
                             202 N. 9th Street
                             Richmond, VA 23219
                             804-786-6557
                             thenry@oag.state.va.us
                             Counsel for Plaintiff Virginia

                             Amy Hanson
                             Washington State Attorney General
                             800 Fifth Avenue, Suite 2000
                             Seattle, WA 98104
                             206-464-5419
                             amy.hanson@atg.wa.gov
                             Counsel for Plaintiff Washington

                             Douglas Lee Davis
                             Tanya L. Godfrey
                             Office of Attorney General, State of West Virginia
                             P.O. Box 1789
                             812 Quarrier Street, 1st Floor
                             Charleston, WV 25326
                             304-558-8986
                             doug.davis@wvago.gov
                             tanya.l.godfrey@wvago.gov
                             Counsel for Plaintiff West Virginia




                               20
Case 1:20-cv-03010-APM Document 400 Filed 10/13/22 Page 21 of 21




                             Misha Westby
                             Wyoming Attorney General's Office
                             2320 Capitol Avenue
                             Kendrick Building
                             Cheyenne, WY 82002
                             (307) 777-6397
                             Misha.Westby@wyo.gov
                             Counsel for Plaintiff Wyoming




                               21
